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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                       Case No. 20-cv-13134
    Plaintiffs,                             Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
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__________________________________________________________________/

     INTERVENOR DEFENDANT ROBERT DAVIS’ MOTION FOR
     SANCTIONS TO BE ASSESSED AGAINST PLAINTIFFS AND



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      PLAINTIFFS’ COUNSEL PURSUANT TO THE COURT’S
          INHERENT AUTHORITY AND 28 U.S.C. §1927.


      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

 (hereinafter “Intervenor Defendant Davis”), by and through his

 attorney, ANDREW A. PATERSON, and for his Motion for Sanctions To

 Be Assessed Against Plaintiffs and Plaintiffs’ Counsel Pursuant to the

 Court’s Inherent Authority and 28 U.S.C. §1927, states the following:

                             I.     Concurrence

      Pursuant to Local Rule 7.1, prior to filing the instant motion,

 counsel for Intervenor Defendant Davis sought concurrence from

 Plaintiffs’ counsel, but concurrence was denied, necessitating the filing

 of this motion.

                             II.    Introduction

      All attorneys are to be held to the same standards of conduct, no

 matter who their clients are. All attorneys must have a careful regard for

 their obligations to truth, candor, accuracy, and professional judgment,

 for they are officers of the court. In this case, the Court is compelled to

 act by sanctioning the egregious conduct of the Plaintiffs and their

 attorneys for making clearly frivolous arguments and using the judicial


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 system to obtain unprecedented relief, to satisfy Plaintiffs’ selfish and

 destructive political agendas. As the Court recognized, the relief

 Plaintiffs seek “is stunning in its scope and breathtaking in its reach.”

 (Opinion and Order, ECF No. 62, PageID. 3296).

      The audacious actions of the Plaintiffs and their attorneys have not

 only been an abuse of the judicial process, but the hindering actions that

 they attempted to produce in this case, jeopardized this country’s

 precious democracy. In this case, the Plaintiffs used the Court’s process

 and its esteemed standing in a deliberate and mean-spirited effort to

 undermine the will of the more than 5.5 million people in Michigan who

 exercised their precious and fundamental right to vote in the November

 3, 2020 general election.

         A. Sanctions Shall Be Imposed Under 28 U.S.C. §1927.

      Section 1927 of Title 28 provides that attorneys’ fees may be

 awarded where an attorney “so multiplies the proceedings in any case

 unreasonably and vexatiously[.]” Sanctions may be appropriate when an

 attorney knows or reasonably should know that their claim is frivolous,

 or that their litigation tactics will “needlessly obstruct the litigation of

 nonfrivolous claims.” Jones v. Cont’l Corp., 789 F. 2d 1225, 1230 (6th Cir.


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 1986). The court need not find bad faith on the part of the sanctioned

 party. Dixon v. Clem, 492 F. 3d 665, 679 (6th Cir. 2007); see also In re

 Ruben, 825 F. 2d 977, 983-984 (6th Cir. 1987) (noting that “a relaxed

 standard” is applicable to § 1927 sanctions, as a court may assess fees

 against an attorney “despite the absence of any conscious impropriety”)

 (emphasis in original). However, “[s]imple inadvertence or negligence

 that frustrates the trial judge will not support a sanction under section

 1927.” Ridder v. City of Springfield, 109 F.3d 288, 298 (6th Cir. 1997);

 see also Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465

 F.3d 642, 646 (6th Cir. 2006) (“§ 1927 sanctions require . . . something

 more than negligence or incompetence.”).

      Here, the Plaintiffs’ lawsuit was clearly frivolous from its initial

 filing, which was riddled with misspelled words and references to other

 cases pending in other jurisdictions. (See ECF Nos. 1 and 6). As the Court

 recognized in its thorough and well-written opinion: “this lawsuit seems

 to be less about achieving the relief Plaintiffs seek—as much of that relief

 is beyond the power of this Court— and more about the impact of their

 allegations on People’s faith in the democratic process and their trust in

 our government.” (Opinion and Order, ECF No. 62, PageID. 3329-3330).


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      Plaintiffs’ lawsuit was “dead on arrival” because as the Court

 correctly concluded, Plaintiffs’ claims were clearly barred by Sovereign

 Immunity under the Eleventh Amendment of the U.S. Constitution,

 laches, mootness, and moreover, Plaintiffs lacked standing to bring the

 claims. (ECF No. 62). It is apparent that Plaintiffs sought to bring the

 instant action, as the Court correctly noted, in an effort to undermine the

 People’s confidence in our country’s democracy. (Opinion and Order,

 ECF No. 62, PageID. 3329-3330). In fact, Plaintiffs had the audacity to

 ask “this Court to ignore the orderly statutory scheme established to

 challenge elections and to ignore the will of millions of voters.” (Id.) And

 thankfully, the Court refused to do so. (Id.)

      As further evidence that Plaintiffs’ instant action was vexatious

 and frivolous, in a deliberate and desperate action to void the will of the

 People, Plaintiffs and their counsel went as far as filing a false affidavit

 with the Court. The Court should take judicial notice of the December 4,

 2020 Detroit Free Press article entitled: “Affidavit in Michigan lawsuit

 makes wildly inaccurate claims about voter turnout in state.”1 because




1
 https://www.freep.com/story/news/local/michigan/detroit/2020/12/04/mic
 higan-lawsuit-makes-wild-claims-voter-turnout/3829654001/
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 it refutes and debunks certain facts falsely attested to in the affidavit

 filed by Russell James Ramsland Jr. (ECF No. 1-14 PageID. 625-630) and

 the Expert Report purportedly authored by Russel James Ramsland Jr.

 (ECF No. 49-3, PageID. 3111-3142), which were filed by Plaintiffs’

 counsel in support of Plaintiffs’ lawsuit and pending motion for TRO

 (ECF No. 7). (See Intervenor Davis’ Motion for Court To Take Judicial

 Notice, ECF No. 59).

      The December 4, 2020 Detroit Free Press article concludes that the

 information contained in Russel James Ramsland Jr.’s affidavit (ECF No.

 1-14) and Expert Report (49-3) was FALSE because the numbers and

 data cited in his affidavit (ECF No. 1-14) and Expert Report (ECF No.

 49-3) “do not match the official statement of votes cast in all but one

 jurisdiction, and many inflate the numbers significantly. The official data

 show that the number of voters who cast a ballot in November’s election

 did not exceed the number of registered voters in any of the jurisdictions

 named.” The information contained and cited in Russel James Jr.’s

 affidavit (ECF No. 1-14) and Expert Report (ECF No. 49-3) was so




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 egregiously false that the Detroit Free Press rated his claim:

 “Pants on Fire!”2.

      Plaintiffs’ and Plaintiffs’ conduct egregious conduct and frivolous

 and fraudulent filings clearly warrant sanctions under 28 U.S.C. §1927.

      B. Sanctions Shall Be Issued Under The Court’s Inherent
                               Authority
      Intervening Defendant Davis also urges the Court to impose

 sanctions under its inherent authority. “A district judge has inherent

 equitable power to award attorneys’ fees for ‘bad faith’ or frivolous

 conduct of a case,” whether against a party or against her attorney. In re

 Ruben, 825 F. 2d at 983. The court may sanction a party “when a party

 has acted in bad faith, vexatiously, wantonly, or for oppressive reasons.”

 Chambers v. NASCO, Inc., 501 U.S. 32, 45-46 (1991) (internal quotations

 omitted).

      To impose sanctions under this bad faith standard, Sixth Circuit

 law requires a district court to find: (i) the claims advanced were

 meritless; (ii) counsel for the offending party knew or had reason to know




2  It is well-settled that a federal court can take judicial notice of
 information contained in a newspaper article. See e.g. Logan v. Denny's,
 Inc., 259 F. 3d 558, 578, n. 9 (6th Cir. 2001)(collecting cases); U.S. ex rel.
 Dingle v. BioPort Corp., 270 F. Supp. 2d 968, 973 (W.D. Mich. 2003).
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 the claims were meritless; and (iii) the motive for filing the suit was an

 improper purpose such as harassment. Metz v. Unizan Bank, 655 F.3d

 485, 489 (6th Cir. 2011). Although the filing of a meritless claim may be

 evidence of bad faith, the “mere fact that an action is without merit does

 not amount to bad faith.” BDT Prods., Inc. v. Lexmark Intern, Inc., 602

 F.3d 742, 753 (6th Cir. 2010). “[T]he court must find something more

 than that a party knowingly pursued a meritless claim or action at any

 stage of the proceedings.” Id. (emphasis in original). This “something

 more” could be a finding that the party filed suit for purposes of

 harassment or delay, or for other improper reasons, see Big Yank Corp.

 v. Liberty Mut. Ins. Co., 125 F.3d 308, 314 (6th Cir. 1997); a finding that

 the plaintiff had improperly used the courts by filing a meritless lawsuit

 and withholding material evidence, First Bank of Marietta, 307 F.3d at

 523 n. 18; or a finding that the party was delaying or disrupting the

 litigation or hampering enforcement of a court order, Chambers, 501 U.S.

 at 46.

      Plaintiffs clearly brought their claims for an improper purpose, as

 the Court’s opinion and order clearly recognized. As the Court correctly

 opined: “this lawsuit seems to be less about achieving the relief Plaintiffs


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 seek—as much of that relief is beyond the power of this Court— and more

 about the impact of their allegations on People’s faith in the democratic

 process and their trust in our government.” (Opinion and Order, ECF No.

 62, PageID. 3329-3330). All of Plaintiffs’ arguments were baseless and

 lacked arguable legal merit. As the Court correctly concluded, Plaintiffs’

 claims were barred under the Eleventh Amendment sovereign immunity,

 laches, mootness, and the Plaintiffs lacked Article III standing.          In

 addition, as noted above, Plaintiffs and Plaintiffs’ counsel went as far as

 filing a false affidavit with the Court.

      “It is well established under Supreme Court and Sixth Circuit

 precedents that a court’s inherent power to sanction serves a punitive

 purpose, based on the need to deter misconduct and vindicate the court’s

 authority.” Williamson v. Recovery Ltd. P’ship, 826 F.3d 297, 305 (6th

 Cir. 2016). Courts “have broad discretion under their inherent powers to

 fashion   punitive   sanctions.    Although      sanctions   cannot   be   so

 unreasonable that they constitute an abuse of discretion, there is no

 requirement of a perfect causal connection between the sanctioned

 conduct and the [sanctions] awarded, due to the punitive nature of the

 sanctions.” Id.


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       The Court should properly exercise its discretion and sanction the

 Plaintiffs and their counsel in accordance with the court’s inherent power

 to sanction by assessing attorneys’ fees and costs. Plaintiffs’ claims were

 clearly frivolous and vexatious because they were previously dismissed

 by other courts of competent jurisdiction. Despite these claims being

 summarily dismissed by other courts, Plaintiffs nonetheless sought to file

 these same claims in this Court in an effort to disenfranchise Intervening

 Defendant Davis and other registered voters who lawfully cast their vote

 in the November 3, 2020 general election.

       As further evidence that Plaintiffs’ claims were frivolous and

 vexatious, the Court concluded that “Plaintiffs are far from likely to

 succeed in this matter.” (Opinion and Order, ECF No. 62, PageID. 3329).

 “A court’s reliance upon its inherent authority to sanction derives from

 its equitable power to control the litigants before it and to guarantee the

 integrity of the court and its proceedings.” First Bank of Marietta v.

 Hartford Underwriters Ins. Co., 307 F.3d 501, 512 (6th Cir. 2002). “Even

 if there were available sanctions under statutes or various rules in the

 Federal Rules of Civil Procedure … the inherent authority of the Court

 is an independent basis for sanctioning bad faith conduct in litigation.”


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 Id. at 511.    Here, the Court recognized in adjudicating Plaintiffs’

 emergency motion for TRO, that Plaintiffs’ claims were meritless and

 properly concluded: “this lawsuit seems to be less about achieving the

 relief Plaintiffs seek—as much of that relief is beyond the power of this

 Court— and more about the impact of their allegations on People’s faith

 in the democratic process and their trust in our government.” (Opinion

 and Order, ECF No. 62, PageID. 3329-3330).

       Accordingly, for the foregoing reasons, the Court shall impose

 sanctions under the Court’s inherent authority against Plaintiffs and

 Plaintiffs’ counsel.

                        CONCLUSION
       WHEREFORE, for the foregoing reasons, Intervening Defendant

 Davis prays that this Honorable Court GRANT his motion for sanctions

 against Plaintiffs and Plaintiffs’ counsel pursuant to 28 U.S.C. §1927 and

 under the Court’s inherent authority.

 Dated: December 22, 2020           Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Intervenor Defendant
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                      CERTIFICATE OF SERVICE

       I, ANDREW A. PATERSON, certify that forgoing document(s) was

 filed and served via the Court's electronic case filing and noticing

 system (ECF) this 22nd day of December, 2020, which will

 automatically send notification of such filing to all attorneys and parties

 of record registered electronically.

 Dated: December 22, 2020           Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
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